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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

LEVI SAELUA, JR.,             )             CRIM. NO. 13-00021 SOM
                              )             CIV. NO. 16-00239 SOM/KSC
               Petitioner,    )
                              )             ORDER DENYING MOTION SEEKING
          vs.                 )             RELIEF UNDER AMENDMENT 782
                              )
UNITED STATES OF AMERICA,     )
                              )
               Respondent.    )
_____________________________ )


       ORDER DENYING MOTION SEEKING RELIEF UNDER AMENDMENT 782

            Defendant Levi Saelua, Jr., pled guilty to Count 1 of

the Superseding Indictment, which charged him with a conspiracy

to distribute and possess with intent to distribute 50 grams or

more of methamphetamine and a quantity of marijuana in violation

of 21 U.S.C. § 846.       See ECF No. 223, PageID # 591 (Judgment in a

Criminal Case).     Pursuant to 18 U.S.C. § 3582(c)(2), Saelua filed

a motion seeking resentencing with a two-level reduction of his

base offense level under Amendment 782 to the United States

Sentencing Commission Guidelines (“U.S.S.G.”).              See ECF No. 282.

The court denies the motion.

            Under 18 U.S.C. § 3582(c)(2), this court may reduce a

“term of imprisonment, after considering the factors set forth in

section 3553(a) to the extent that they are applicable, if such a

reduction is consistent with applicable policy statements issued

by the Sentencing Commission.”           In United States v. Dunn, 728

F.3d 1151, 1155 (9th Cir. 2013), the Ninth Circuit explained that
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§ 3582(c)(2) authorizes district courts to modify sentences when

a sentencing range has subsequently been lowered by the

sentencing commission.

            The applicable guideline range for drug offenses is

usually “determined under U.S.S.G. § 2D1.1(c), which correlates

the length of the prison term with the quantity of drugs.”

United States v. Wesson, 583 F.3d 728, 731 (9th Cir. 2009).

Amendment 782, effective November 1, 2014, generally revised the

Drug Quantity Table in § 2D1.1 downward by two levels.                   This

court is therefore authorized by § 3582(c)(2) to modify

qualifying sentences pursuant to Amendment 782 to reflect that

two-level adjustment in offense levels.

            However, Amendment 782 does not lower the sentencing

range for career offenders whose offense levels and guideline

ranges are based on U.S.S.G. § 4B1.1, rather than U.S.S.G.

§ 2D1.1(c).    See United States v. Cook, __ F.3d __, 2017 WL

3816053, at *5 (6th Cir. Sept. 1, 2017) (Amendment 782 does not

affect the sentencing range of a career offender sentenced based

on U.S.S.G. § 4B1.1); United States v. Quintanilla, 868 F.3d 315,

321 (5th Cir. 2017) (same); United States v. Martin, 867 F.3d

428, 432-33 (3d Cir. 2017) (same); United States v. Smith, 814

F.3d 802, 804 (6th       Cir. 2016) (same); United States v. Smith,

814 F.3d 802, 804 (6th Cir. 2016) (same); United States v. Avila,

2015 WL 1622047, at *1 (D. Haw. Apr. 10, 2015).                 The Ninth


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Circuit, in a series of unpublished opinions, has agreed that

defendants sentenced as career offenders under U.S.S.G. § 4B1.1

are ineligible for sentence reductions under Amendment 782.                   See

United States v. Dewey, 2017 WL 1435437, at *1 (9th Cir. Apr. 24,

2017); United States v. Mitchell, 2017 WL 1435651, at *1 (9th

Cir. Apr. 24, 2017); United States v. Rael, 689 F. App’x 571 (9th

Cir. 2017); United States v. Romero, 675 F. App’x 777 (9th Cir.

2017).

            Saelua was sentenced as a career offender.               See ECF No.

224 ¶ 81, PageID # 623 (Presentence Investigation Report

designating Saelua as career offender); ECF No. 221 (adopting

Presentence Investigation Report).            Rather than computing his

offense level based on the amount of drugs involved, which would

have been a level 34 under U.S.S.G. § 2D1.1, Saelua was

determined to have an offense level of 37 pursuant to U.S.S.G.

§ 4B1.1 because he was a career offender whose crime had a

statutory maximum sentence of life imprisonment.                 See ECF No. 224

¶ 65, PageID # 619.      This court has recently rejected a § 2255

challenge to Saelua’s career offender designation.                 See ECF Nos.

324 and 333.     As Saelua himself has recently conceded, Amendment

782 is inapplicable here, as Saelua’s offense level was not based

on U.S.S.G. § 2D1.1 and his status as a career offender has not

changed.    See Defendant Levi Saelua, Jr.’s Memorandum Regarding

Defendant’s Motion Pursuant to USSG Amendment 782 Two-Level


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Variance, ECF No. 335, PageID # 1459 (“Given that Defendant

Saelua was sentenced as a career criminal under U.S.S.G. §4B1.1,

Defendant submits that he is not entitled to a reduction of his

sentence pursuant to §3582(c)(2) and Amendment 782.”).                  Saelua’s

motion for a two-level reduction of his offense level is

therefore denied.

            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, October 3, 2017.



                                     /s/ Susan Oki Mollway
                                    Susan Oki Mollway
                                    United States District Judge



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